         Case 3:14-cv-00956-JBA Document 505 Filed 06/03/19 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT
____________________________________
                                         :
 Joseph Strauch and Timothy Colby,       :
 on behalf of themselves and all those   :
 similarly situated                      :     CIVIL NO.:
                                         :     3:14-cv-956 (JBA)
                                         :
                  Plaintiffs,            :
v.                                       :
                                         :
Computer Sciences Corporation            :
                                         :     JUNE 3, 2019
        Defendant.                       :
____________________________________:


                        MOTION FOR EXTENSION OF TIME TO
                       OBJECT TO SPECIAL MASTER’S REPORT

       Pursuant to the Federal Rules of Civil Procedure and the Local Rules for this Court,

Defendant, Computer Sciences Corporation (“Defendant”) hereby respectfully moves for a seven

(7) day enlargement of time up to and including June 17, 2019 within which to file objections to

the Special Master’s Report and Recommendation, which was filed with the Court on May 31,

2019 (Dkt. 503). In support of this Motion, Defendant states as follows:

       1.     Currently, pursuant to this Court’s order (Dkt. 491), any objection to the Special

              Master’s Report and Recommendation is due on or before June 10, 2019.

       2.     The Parties have conferred and Plaintiffs’ counsel consents to this motion with the

              agreement that the deadline for any replies to objections similarly be extended up

              to and including June 28, 2019.

       3.     This is the first motion for extension of time filed in connection with responses to

              the Special Master’s Report and Recommendation.
         Case 3:14-cv-00956-JBA Document 505 Filed 06/03/19 Page 2 of 4



       WHEREFORE, Defendant respectfully moves for an extension of time until June 17, 2019,

within which to file objections to the Special Master’s Report and Recommendation. Accordingly,

by agreement, the Parties request that should the Court grant this request, the deadline for replies

to objections similarly be extended until June 28, 2019.

                                                    Respectfully submitted,
                                                    DEFENDANT,
                                                    COMPUTER SCIENCES CORPORATION


                                                    By its attorneys,

                                                     /s/ William J. Anthony
                                                     Jackson Lewis P.C.
                                                     William J. Anthony (ct 17865)
                                                     Kristi Rich Winters (ct 28066)
                                                     18 Corporate Woods Boulevard, 3rd floor
                                                     Albany, New York 12211
                                                     Telephone: 518-434-1300
                                                     Fax: 518-427-5956
                                                     Anthonyw@jacksonlewis.com
                                                     Kristi.Winters@jacksonlewis.com


                                                     David R. Golder (ct 27941)
                                                     David C. Salazar-Austin (ct 25564)
                                                     Alexa M. Farmer (ct30052)
                                                     90 Statehouse Square, 8th Floor
                                                     Hartford, CT 06103
                                                     Tel: (860) 522-0404
                                                     Fax: (860) 247-1330
                                                     golderd@jacksonlewis.com
                                                     salazard@jacksonlewis.com


                                                     Brett M. Anders*
                                                     220 Headquarters Plaza
                                                     East Tower, 7th Floor
                                                     Morristown, NJ 07960
                                                     Tel: (973) 538-6890
                                                     andersb@jacksonlewis.com
Case 3:14-cv-00956-JBA Document 505 Filed 06/03/19 Page 3 of 4



                                 Cary G. Palmer*
                                 Nathan W. Austin*
                                 801 K Street, Suite 2300
                                 Sacramento, CA 95814
                                 Tel: (916) 341-0404
                                 palmerc@jacksonlewis.com
                                 AustinN@jacksonlewis.com


                                 * pro hac vice
         Case 3:14-cv-00956-JBA Document 505 Filed 06/03/19 Page 4 of 4



                                 CERTIFICATION OF SERVICE

                 I hereby certify that on June 3, 2019, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system and by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.



                                       /s/ William J. Anthony
                                       William J. Anthony
